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 4
 5
     Attorney for Defendant
 6   RAUL SALAZAR
 7
                                    UNITED STATES DISTRICT COURT
 8
                                   EASTERN DISTRICT OF CALIFORNIA
 9
10    UNITED STATES OF AMERICA,                               No. 06-185 LJO
11                             Plaintiff.                     STIPULATION AND ORDER TO
12                                                            EXTEND THE SURRENDER DATE
      vs.                                                     FOR DEFENDANT RAUL SALAZAR
13
14    RAUL SALAZAR,

15                             Defendant.

16
17           IT IS HEREBY STIPULATED by and between defendant RAUL SALAZAR, through his
18   attorney, RUBEN A. VILLALOBOS, respectively, and plaintiff United States of America, through
19   its counsel of record, Assistant United States Attorney KATHLEEN A. SERVATIUS, stipulate and
20   agree to the following:
21           1.      The presently scheduled surrender date of July 26, 2007, at 2:00 p.m., shall be
22   vacated for the above defendant and be rescheduled for the above defendant to surrender on August
23   23, 2007, at 2:00 p.m.
24           2.      The reason for the requested extension of the surrender date is that after speaking with
25   Ms. Suzanne Perry from the United States Marshall’s Office, they received Mr. Salazar’s paper
26   work on July 20, 2007, and then forwarded the paper work to the Bureau of Prisons on July 23,
27   2007.
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 1          3.      To date, the Bureau of Prisons has “no prison designation” for Mr. Salazar. At a
 2   minimum it will take a minimum of 3 weeks to designate a prison.
 3
     Dated: July 26, 2007                                         /s/ Ruben A. Villalobos
 4                                                                _____________________________
                                                                  RUBEN A. VILLALOBOS
 5                                                                Attorney at Law
 6   Dated: July 26, 2007                                         /s/ Kathleen A. Servatius
                                                                  _____________________________
 7                                                                KATHLEEN A. SERVATIUS
                                                                  Assistant U.S. Attorney
 8
                                                 ORDER
 9
            UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the July
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     26, 2007 at 2:00 p.m.,surrender date be vacated and an extension to surrender to August 23, 2007,
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     at 2:00 p.m., for defendant, Raul Salazar. The Court finds that the ends of justice to be served by
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     granting an extension to surrender outweigh and the best interests of the defendant to be able to
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     surrender to the designated prison assigned by the Bureau of Prisons.
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     Dated: August 15, 2007                                /s/ Lawrence J. O’Neill
16                                                         HONORABLE LAWRENCE J. O’NEILL
                                                           U.S. DISTRICT JUDGE
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